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 UNITED STATES DISTRICT COURT
 DISTMCT OF NEW JERSEY


                                                      Case No. 2:22-cv-05258-WJM


                                                ORDER GRANTING
 IN RE HUMANIGEN, INC.
                                                PRELIMINARY APPROVAL OF
 SECURITIES LITIGATION
                                                SETTLEMENT




        WHEREAS, a consolidated class action is pending before the Court entitled In re


 Hwncmigen, Inc. Securities LUigation^o. 2:22-cv-05258-WJM-AME(D.N.J.);


        WHEREAS, (a) Lead Plaintiffs Dr. Scott Greenbaum and Joshua Mailey together

 with Plaintiff Alejandro Pieronl, individually and on behalf of the Settlement Class

 ("Plaintiffs"), and (b) defendants Humanigen, Inc. ("PIumanigen"), Cameron Durrant, and

 Dale Chappell (collectively, "Defendants"; and together with the Plaintiffs, the "Parties")


 have determined to settle all claims asserted against Defendants in this Litigation with


 prejudice on the terms and conditions set forth in the Stipulation of Settlement dated


 September 22, 2023 (the "Stipulation") subject to the approval of this Court (the

 "Settlement"),
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        WHEREAS, the Court having reviewed and considered Plaintiffs' unopposed

 Motion for Preliminary Approval of Class Action Settlement (the "Motion"); as well as all


 papers submitted in support thereof; the proposed Settlement as set forth in the Stipulation,

 which, together with the exhibits annexed thereto, sets forth the terms and conditions of a

 proposed settlement of the above-captioned Litigation, dismissing the Defendants with


 prejudice upon the terms and conditions set forth therein; a copy of which has been

 submitted with the Motion and the terms of which are incorporated herewith; and all other


 prior proceedings in this Litigation; and good cause for this Order having been shown:


        NOW, THEREFORE, IT IS HEREBY ORDERED:

        1. The provisions of the Stipulation, including definitions of the terms used


 therein, are hereby incorporated by reference as though fully set forth herein. All

 capitalized terms used herein have the meanings set forth and defined in the Stipulation.


        2. This Court has jurisdiction over the subject matter of this Litigation and over

 all parties to this Litigation, including Settlement Class Members.


        3. The Court preliminarily approves the Settlement and the proposed Plan of

 Allocation described in the Notice as fair, reasonable and adequate as to all Settlement


 Class Members, pending a final settlement and fairness hearing (the "Settlement Hearing").


 The Court preliminarily finds that the proposed Settlement
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 should be approved as: (i) the result of serious, extensive arm's-length and non- collusive


 negotiations; (ii) falling within a range of reasonableness warranting final approval; (iii)

 having no obvious deficiencies; (iv) not improperly granting preferential treatment to any


 of the Plaintiffs or segments of the Settlement Class; and (v) warranting notice of the

 proposed Settlement at the Settlement Hearing described below.


        4. Pursuant to Rules 23(a) and (b)(3) of the Federal Rules of Civil Procedure,

 and for purposes of this Settlement only, the Court hereby certifies a Settlement Class,


 defined as: all Persons who purchased or otherwise acquired Humanigen securities during


 the Class Period. Excluded from the Settlement Class are: (i) Defendants; (ii) the officers,

 directors, and affiliates ofHumanigen, at all relevant times; (iii) Humanigen's employee


 retirement or benefit plan(s) and their participants or beneficiaries to the extent they


 purchased or acquired liumanigen securities through any such plan(s); (iv) any entity in

 which Defendants have or had controlling interest; (v) Immediate Family members of any


 excluded person; and (vi) the legal representatives, heirs, successors, or assigns of any

 excluded person or entity. Also excluded from the Settlement Class are those Persons who


 validly and timely request exclusion.


        5. With respect to the Settlement Class, this Court finds solely for purposes of


 effectuating this settlement that: (a) the Settlement Class Members are
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 so numerous thatjoinder of all Settlement Class Members in the Litigation is impracticable;

 (b) there are questions of law and fact common to the Settlement Class which predominate


 over any individual questions; (c) the claims of the Plaintiffs are typical of the claims of

 the Settlement Class; (d) Plaintiffs have fairly and adequately represented and protected

 the interests of all of the Settlement Class Members; and (e) a class action is superior to

 other available methods for the fair and efficient adjudication of the controversy,


 considering: (i) the interests of the members of the Settlement Class in individually

 controlling the prosecution of the separate actions; (ii) the extent and nature of any

 litigation concerning the controversy already commenced by members of the Settlement


 Class; (iii) the desirability or undesirability of continuing the litigation of these claims in

 this particular forum; and (iv) the difficulties likely to be encountered in the management of

 the class action.


        6. The Court hereby finds and concludes that pursuant to Rule 23 of the Federal


 Rules of Civil Procedure, and for the purposes of the Settlement only, Plaintiffs are


 adequate class representatives and certifies them as Class Representatives for the

 Settlement Class. The Court also appoints Lead Counsel as Class Counsel for the


 Settlement Class, pursuant to Rule 23 (g) of the Federal Rules of Civil Procedure.


        7. The Court approves the appointment ofA.B. Data, Ltd. as the Claims




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 Administrator to supervise and administer the notice procedure and the processing of

 claims.


           8, The Court orders the stay of any pending litigation and enjoins the initiation

 of any new litigation by any Settlement Class Member in any court, arbitration, or other


 tribunal that includes any Released Claims against the Released Parties.


           9. The Court hereby approves, as to form and content, the proposed Notice and


 Postcard Notice, substantially in the forms annexed hereto as Exhibits A-l and A-4, and

 directs that as soon as practicable after entry of this Order, but no later than fourteen (14)


 days after entry of this Order granting preliminary approval, that the Settlement


 Administrator publish the Notice on a webslte to be maintained by the Claims

 Administrator and provide the Postcard Notice to each known Settlement Class Member


 via first class U.S. mail, postage pre-paid. Humanigen shall cooperate in the Identification of

 Settlement Class Members by producing reasonably available information from its

 shareholder transfer records or transfer agent. The Claims Administrator shall file with the


 Court proof of mailing of the Notice seven (7) days prior to the Settlement I-Iearing.


           10. Banks, brokerage firms, institutions, and other persons who are nominees


 who purchased or otherwise acquired Humanigen securities for the beneficial interest of

 other persons during the Settlement Class Period are directed
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 to, within ten (10) days after receipt of the Notice: either (a) send the Notice and the Proof

 of Claim form to all beneficial owners of Humanigen securities purchased or otherwise


 acquired during the Class Period; or (b) send a list of the names and addresses of such

 beneficial owners to the Claims Administrator. Upon full compliance with these directions,


 such nominees may seek reimbursement of their reasonable expenses actually incurred up

 to a maximum of $0.1 5 per name and address provided to the Claims Administrator and up


 to $0.15 per Notice actually mailed, plus postage at the rate used by the Claims


 Administrator. The Claims Administrator shall provide the Notice to each Settlement Class


 Member identified through point (b) of this Paragraph via first class U.S. mail, postage pre-


 paid, no later than sixty (60) days prior to the Settlement Hearing.

        11. The cost of providing the Notice to the Settlement Class as specified in this

 Order shall be paid as set forth in the Stipulation.

        12. The Court hereby approves, as to form and content, the proposed form

 Summary Notice, substantially in the form annexed hereto as Exhibit A-3, and directs that


 within twenty-one (21) days after entry of this Order granting preliminary approval the

 Claims Administrator shall cause such Summary Notice to be published on a national

 business newswire. The Claims Administrator shall file with the Court proof of publication


 of the Summary Notice seven (7) days prior to the Settlement Hearing.
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        13. The Court approves the proposed Proof of Claim substantially In the form of

 Exhibit A-2 hereto.


        14. The Court orders that the Notices, Proof of Claim form. Stipulation of


 Settlement and all papers submitted in support thereof be posted to a website to be


 maintained by the Claims Administrator.


        15. This Court preliminadly finds that the distribution of the Notice and the

 publication of the Publication Notice, and the notice methodology, contemplated by the


 Stipulation and this Order:

                   (a) Constitute the best practicable notice to Settlement Class Members


       under the circumstances of this Action;


                   (b) Are reasonably calculated, under the circumstances, to apprise

        Settlement Class Members of: (1) the proposed Settlement of this Action; (ii) their

       right to exclude themselves from the Settlement Class; (ui) their right to object to

        any aspect of the proposed Settlement; (iv) their right to appear at the Settlement

       Hearing, either on their own or through counsel hired at their own expense, if they


        did not exclude themselves from the Settlement Class; and (v) the binding effect of

       the proceedings, rulings, orders, and judgments in this Action, whether favorable or

       unfavorable, on all persons not excluded from the Settlement Class;




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                    (c) Are reasonable and constitute due, adequate, and sufficient notice

        to all persons entitled to be provided with notice; and


                   (d) Fully satisfy all applicable requirements of the Federal Rules of

        Civil Procedure (including Rules 23 (c) and (d)), the United States Constitution

        (including the Due Process Clause), the Securities Exchange Act of 1934,15 U.S.C.


        § 78u-4(a)(7), the Private Securities Litigation Reform Act of 1995, the Rules of

        Court, and any other applicable law.


        16. Settlement Class Members who wish to participate in the Settlement shall


 complete and submit the Proof of Claim and Release form in accordance with the

 instructions contained in the Notice. Unless the Court orders otherwise, all Proof of Claim


 and Release forms must be submitted no later than one hundred twenty


 (120) days after entry of this Order.

        17. Any Settlement Class Member who does not submit a Proof of Claim and


 Release within the time provided shall be barred from sharing In the distribution of the

 proceeds of the Net Settlement Fund, unless otherwise ordered by the Court, but shall

 nevertheless be bound by any final judgment entered by the Court. Notwithstanding the


 foregoing, Lead Counsel shall have the discretion to accept late- submitted claims for


 processing by the Claims Administrator so long as distribution of the Net Settlement Fund

 is not materially delayed thereby.


        18. Any person falling within the definition of the Settlement Class may
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 seek to be excluded from the Settlement Class by submitting to the Settlement

 Administrator a request for exclusion ("Request for Exclusion"), which complies with the


 requirements set forth in the Notice and is postmarked no later than twenty- eight (28) days


 prior to the Settlement Hearing. Any Request for Exclusion that does not supply the

 information required by this Paragraph 16 shall be rejected, and any such Settlement Class


 Member shall be bound by the Stipulation and any judgment entered in connection


 therewith.


        19. All persons who submit valid and timely Requests for Exclusion shall have


 no rights under the Stipulation, shall not share in the distribution of the Net Settlement

 Fund, and shall not be bound by the Settlement Stipulation or the Judgment. However, a


 Settlement Class Member may submit a written revocation of a Request for Exclusion up


 until seven (7) days prior to the date of the Settlement Hearing and still be eligible to receive

 payments pursuant to the Stipulation provided the Settlement Class Member also submits a

 valid Proof of Claim prior to the Settlement Hearing (the "Bar Date").


        20, Unless otherwise ordered by the Court, the Court stays all proceedings in the


 Action other than proceedings necessary to carry out or enforce the terms and conditions of


 the Stipulation. Pending final determination of whether the Settlement should be approved,


 the Court bars and enjoins Plaintiffs, and all other members of the Settlement Class, from


 commencing or prosecuting any and all of the Released
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 Plaintiffs' Claims against each and all of the Defendants' Related Parties.


        21. The Settlement Hearing shall take place before the undersigned. United States


 District Judge William J. Martini, in Courtroom MLK 4B at the Martin Luther King Building

 & U.8. Courthouse, 50 Walnut Street, Newark, New Jersey 07102, on March            7 2024, at

  12:00 PM, to determine:


                    (a) Whether the Settlement, on the terms and conditions provided for in


        the Stipulation, should be finally approved by the Court as fair, reasonable, and


        adequate;


                    (b) Whether the Litigation should be dismissed on the merits and with

        prejudice as to the Defendants;


                    (c) Whether the Court should permanently enjoin the assertion of any

        claims that arise from or relate to the subject matter of the Litigation;


                    (d) Whether the application for attorneys' fees and expenses to be


        submitted by Lead Counsel should be approved;

                    (e) Whether the Plan of Allocation is fair and reasonable to the

        members of the Settlement Class;


                    (f) Whether the application for a Compensatory Award to be

        submitted on behalf of Lead Plaintiffs Dr. Scott Greenbaum and Joshua Mailey and


        Plaintiff Alejandro Pleroni should be approved; and




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                   (g) Such other matters as the Court may deem necessary or appropriate.


        22. The Court may finally approve the Stipulation at or after the Settlement

 Hearing with any modifications agreed to by the parties and without further notice to the

  Settlement Class Members.


        23. Lead Counsel and/or Defendants' Counsel shall submit papers in support of


 the Settlement, Plan of Allocation and Award of Attorney Fees and Expenses, and Lead


 Plaintiffs Compensatory Awards no later than thirty-five (35) days prior to the Settlement

 PIearing.


        24. Any Settlement Class Member and any other interested person may appear


 at the Settlement Hearing in person or by counsel and be heard, to the extent allowed by the

 Court, either in support of or in opposition to the matters to be considered at the hearing;


 provided, however, that no person shall be heard, and no papers, briefs, or other


 submissions shall be considered by the Court in connection to such matters, unless no later


 than twenty-eight (28) days before the Settlement Hearing, such person files with the Court

 a statement of objection setting forth: (1) whether the person is a Settlement Class Member;


 (ii) to which part of the Stipulation the Settlement Class Member objects; (ill) the specific

 reason(s), if any, for such objection including any legal support the Settlement Class

 Member wishes to bring to the Court's attention. Such Settlement Class Member

 shall also provide




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 documentation sufficient to establish the Humanigen securities purchased, acquired and


 sold from May 16, 2020 and July 12, 2022, both dates inclusive (including the number of

 shares, dates, and prices). Failure to provide such information and documentation shall be

 grounds to void the objection.


        25. All papers in response to objections or otherwise in support of the Settlement

 and related matters shall be filed fourteen (14) days prior to the Settlement Hearing.


        26. Defendants shall have no responsibility for the Plan of Allocation or any Fee

 and Expense Application, and such matters will be considered separately from the fairness,


 reasonableness, and adequacy of the Stipulation.


        27. At or after the Settlement Hearing, the Court shall determine whether the

 Plan of Allocation and any Fee and Expense Application proposed by Lead Counsel should


 be approved.


        28. All reasonable expenses incurred in identifying and notifying Settlement

 Class Members as well as administering the Settlement Fund shall be paid as set forth in


 the Stipulation. The Court may adjourn the Settlement Hearing, including the consideration


 of the motion for attorneys' fees and expenses, without further notice of any kind other than


 an announcement of such adjournment in open court at the Settlement Hearing or any

 adjournment thereof. The contents of the Settlement Fund held by Esquire Bank (which


 the Court approves as the Escrow




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 Agent), shall be deemed and considered to be in cnstodia legis of the Court, and shall


 remain subject to the jurisdiction of the Court, until such time as they shall be distributed

 pursuant to the Stipulation and/or further order(s) of the Court.


        29. If the Settlement is approved, all Settlement Class Members will be bound


 by the terms of the Settlement as set forth in the Stipulation, and by any judgment or

 determination of the Court affecting the Settlement Class, regardless of whether or not a


 Settlement Class Member submits a Proof of Claim. Any member of the Settlement Class


 who fails to opt out of the Settlement Class or who fails to object in the manner prescribed

 therein shall be deemed to have waived, and shall be foreclosed forever from raising


 objections or asserting any claims arising out of, related to, or based in whole or In part on

 any of the facts or matters alleged, or which could have been alleged, or which otherwise


 were at issue in the Action.


        30. Upon payment of the Settlement consideration to the Escrow Account by

 Defendants, the Settlement Fund shall be deemed to be in the custody of the Court and shall

 remain subject to the jurisdiction of the Court until such time as the Settlement Fund is

 distributed or returned to Defendants pursuant to the Stipulation and/or further order of this


 Court. There shall be no distribution of any part of the Net Settlement Fund to the


 Settlement Class until the Plan of Allocation is finally




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 approved.


        31. Except for the obligation to cooperate in the production of reasonably


 available information with respect to the identification of Class Members from


 Humanlgen's shareholder transfer records, in no event shall Defendants have any

 responsibility for the administration of the Settlement, and Defendants shall not have any


 obligation or liability to Plaintiffs in connection with such administration.

        32. No Person shall have any claim against the Released Parties, the Claims


 Administrator, the Escrow Agent or any other agent designated by Lead Counsel based on

 distribution determinations or claim rejections made substantially in accordance with this


 Stipulation and the Settlement, the Plan of Allocation, or further orders of the Court, except


 in the case of fraud or willful misconduct. No person shall have any claim under any

 circumstances against the Released Parties, based on any distributions, determinations,


 claim rejections or the design, terms, or implementation of the Plan of Allocation.


        33. Defendants have denied, and continue to deny, any and all allegations and


 claims asserted In the Litigation, and Defendants have represented that they entered into


 the Settlement solely to eliminate the burden, expense, and uncertainties of further litigation.


        34. Neither the Stipulation, nor any of its terms or provisions, nor any of the

 negotiations or proceedings connected with it, shall be construed as an admission




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 or concession by Defendants of the truth of any of the allegations in the Litigation, or of

 any liability, fault, or wrongdoing of any kind.


        35. The Released Parties, and each of their counsel may file the Stipulation and/or


 the Order and Final Judgment in any action that may be brought against them in order to


 support a defense or counterclaim based on the principles of res judicata, collateral


 estoppel, release, good faith settlement, judgment bar or reduction of any other theory of

 claim precluslon or issues preclusion or similar defense or counterclaim.


        36. In the event that the Settlement does not become effective in accordance with

 the terms of the Stipulation, this Order shall be rendered null and void to the extent


 provided by and in accordance with the Stipulation and shall be vacated, and in such event,


 all orders entered and releases delivered in connection therewith shall be null and void to


 the extent provided by and in accordance with the Settlement, and without prejudice to the

 rights of the parties to the Stipulation before it was executed.


        37. The Court reserves the right to alter the time or the date of the Settlement


 Hearing without further notice to the Settlement Class Members, provided that the time or


 the date of the Settlement Hearing shall not be set at a time or date earlier than the time and

 date set forth above, and retains jurisdiction to consider all further applications arising out


 of or connected with the settlement.




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         SO ORDERED in the District of New Jersey on November J»7_, 2023.




                                    ^ffi-rfON. WJS/SA^I ^. MARTINI
                                      UNITED ST^ES DISTRICT JUDGE




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